                        UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


ANGELO LEHN,                              §
                                          §           Case. No. 3:17-cv-00435-wmc
           Plaintiff,                     §
                                          §
  v.                                      §      The Honorable William M. Conley,
                                          §            United States District Judge
REED RICHARDSON;                          §
MARIO CANZIANI; MS.                       §
BROWN; CO OKERGLICKI,1                    §                        Notice of Appeal
                                          §
           Defendants.                    §


                              NOTICE OF APPEAL

       Notice is hereby given that Angelo Lehn, plaintiff in the above-named case,

hereby appeals to the United States Court of Appeals for the Seventh Circuit from

the final Judgment in a Civil Case (ECF 77), entered on June 22, 2022.




       1
        The District Court’s caption for its final Judgment was corrected on June 22,
2022. The final caption lists the defendants in this matter as Reed Richardson, Mario
Canziani, Ms. Brown, and CO Okerglicki. To the best of undersigned counsel’s
knowledge, those are the correct names for the defendants. Prior filings in this
matter, including filings submitted by plaintiff when he was proceeding pro se,
adopted different spellings for some of the defendants’ names.
                                         1
Respectfully submitted,

/s/ James T. Dawson

James T. Dawson
  D.C. Bar No. 1602502
  Texas Bar No. 24094618
VINSON & ELKINS LLP
2200 Pennsylvania Avenue, NW
Suite 500 West
Washington, DC 20037
Email: jamesdawson@velaw.com
Telephone: (202) 639-6588
Facsimile: (202) 639-6604

Pro Bono Attorney for
Plaintiff Angelo Lehn




  2
                         CERTIFICATE OF SERVICE

      I hereby certify that on July 11, 2022, I electronically filed the foregoing

document with the United States District Court for the Western District of Wisconsin

by using the CM/ECF system. I further certify that counsel of record for each of the

defendants are registered as ECF Filers and that they will be served by the CM/ECF

system.

                                      Respectfully submitted,

                                      /s/ James T. Dawson

                                      James T. Dawson
                                        D.C. Bar No. 1602502
                                        Texas Bar No. 24094618
                                      VINSON & ELKINS LLP
                                      2200 Pennsylvania Avenue, NW
                                      Suite 500 West
                                      Washington, DC 20037
                                      Email: jamesdawson@velaw.com
                                      Telephone: (202) 639-6588
                                      Facsimile: (202) 639-6604

                                      Pro Bono Attorney for
                                      Plaintiff Angelo Lehn




                                         3
